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1    DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
2    BENJAMIN D. GALLOWAY, Bar# 214897
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700

5    Attorney for Defendant
     DELMAR LAGRIMAS
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,   )
12                               )       Cr.S. 09-206-GEB
                  Plaintiff,     )
13                               )       STIPULATION AND ORDER
             v.                  )
14                               )       DATE: November 6 2009
     DELMAR LAGRIMAS,            )       TIME: 9:00 a.m.
15   LEOBARDO OLAZABAL CARRANZA, )       JUDGE: Hon. Garland E. Burrell Jr.
                                 )
16                Defendants.    )
                                 )
17   __________________________ )
                                 )
18
19      It is hereby stipulated and agreed to between the United States of

20   America through DANIEL MCCONKIE, Assistant U.S. Attorney, and

21   defendants, DELMAR LAGRIMAS by and through his counsel, BENJAMIN

22   GALLOWAY, Assistant Federal Defender, and LEOBARDO OLAZABAL CARRANZA by

23   and through his counsel, GILBERT A. ROQUE, that the status conference

24   set for Friday, November 6, 2009, be continued to Friday, December 11,

25   2009, at 9:00 a.m..

26      The reason for this continuance is to allow defense counsel

27   additional time to review discovery with the defendants, to examine

28   possible defenses and to continue investigating the facts of the case.
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1       It is further stipulated that the time period from the date of this
2    stipulation and order, through and including the date of the new status
3    conference hearing, December 11, 2009, shall be excluded from
4    computation of time within which the trial of this matter must be
5    commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §§ 3161
6    (h)(7)(A)(B)(iv)and Local Code T4 [reasonable time for defense counsel
7    to prepare].
8
9    DATED: November 4, 2009        Respectfully submitted,
10                                  DANIEL J. BRODERICK
                                    Federal Defender
11
                                    /s/ Benjamin Galloway
12                                  BENJAMIN GALLOWAY
                                    Assistant Federal Defender
13                                  Attorney for Defendant
                                    DELMAR LAGRIMAS
14
                                    /s/ Benjamin Galloway for
15                                  GILBERT A. ROQUE
                                    Attorney for Defendant
16                                  LEOBARDO OLAZABAL CARRANZA
17
18
     DATED: November 4, 2009        LAWRENCE G. BROWN
19                                  United States Attorney
20                                  /s/ Benjamin Galloway for
                                    DANIEL MCCONKIE
21                                  Assistant U.S. Attorney
                                    Attorney for Plaintiff
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              Case 2:09-cr-00206-GEB Document 23 Filed 11/05/09 Page 3 of 3


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                                       O R D E R
2
        IT IS SO ORDERED.       Time is excluded from today’s date through and
3
     including December 11, 2009, in the interests of justice pursuant to 18
4
     U.S.C. §3161(h)(7)(A)(B)(iv) [reasonable time to prepare] and Local
5
     Code T4.
6
7    Dated:    November 5, 2009

8
9                                        GARLAND E. BURRELL, JR.
                                         United States District Judge
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